Case $:12-cv-01994-DOC-JCG Document 27 Filed 05/05/14 Page 1of14 Page ID #:172

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RONALD G. ROSENBERG | as No. 108602)
ROSENBERG & KOFFMA

2029 Century Park East, Suite 1700

Los Angeles, California 90067

Telephone: G 10) 553-1400

Facsimile: (310) 553-1401

Attorneys for Defendants,

Ocean Alexander Marine Center, Inc., Ocean
Alexander Services, L. L. C. and Ocean Alexander
Marine Yacht Sales, Inc.

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA — SOUTHERN DIVISION

Case No. SACV12-1994 DOC(ANx)

CENTER, INC. , OCEAN Courtroom: 9D
ALEXANDER SERVICES, L. L. C.,
and OCEAN ALEXANDER MARINE

YACHT SALES, INC.
Defendants.

)
DAVID PARKER and BIGBIRD _)
HOLDINGS, LLC, } NOTICE OF MOTION AND
Plaintiff } MOTION FOR SUMMARY
aintifi, } JUDGMENT; DECLARATIONS OF
JOHNNY CHUEH AND HSIUNG
v. ) WEI TSENG IN SUPPORT
)} THEREOF
)
ALEXANDER MARINE CO.,LTD, } Date: June 2, 2014
OCEAN ALEXANDER MARINE Time: 8:30 a.m.
)
)

 

Defendants, Ocean Alexander Marine Yacht Sales, Inc. (“OAMYS” or
“Defendant”), hereby move this Court for an order granting summary judgment as
to each cause of action asserted against them.

The Defendant is named in this action for alleged breach of warranties on a
yacht purchased by Plaintiff from a third party and manufactured by a third party.

OAMYS is being sued on as an alleged alter ego of the manufacturer, but the

 

 

DEFENDANTS’ MOTION FOR

DEFENDANTS’ MSJ I. SUMMARY JUDGMENT

 
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undisputed facts do not support such a claim. Further, as explained in the Motion,

OAM YS sells new and used boats, but had no involvement in the sale of the subject

yacht.

This motion is made following the conference of counsel pursuant to L.R. 7-

3 which took place on April 30, 2014.

Dated: May 5, 2014

ROSENBERG & KOFFMAN

Labl G ;

Ronald G. Rose
Attorneys for Defendants,

Ocean Alexander Marine Center, Inc.,
Ocean Alexander Services, L. L. C.,
and Ocean Alexander Marine Yacht
Sales, Inc.

   

 

 

DEFENDANTS’ MSJ

DEFENDANTS’ MOTION FOR
SUMMARY JUDGMENT

 
Case §:12-cv-01994-DOC-JCG Document 27 Filed 05/05/14 Page 30f14 Page ID #:174

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MEMORANDUM OF POINTSAND AUTHORITIES

1. Factual Background

In 2005, Plaintiffs purchased a new 98 foot yacht manufactured by Alexander
Marine Co., Ltd. (“Alexander Marine”), which is a Taiwanese entity. (Complaint
11 and 13.) The yacht, now known as the Jelly Bean II, was purchased by
Plaintiffs from the local Newport Beach distributor for Alexander Marine yachts at
that time, Orange Coast Marine, Inc. (“Orange Coast”).

In late 2011, the Plaintiffs reported alleged deficiencies to Alexander Marine
with the Jelly Bean II. The only basis for potential liability for OAMYS is that
Plaintiff alleges that they alter ego of the manufacturer, Defendant, Alexander
Marine. As explained below, there are no facts whatsoever to support such a claim
and as a matter of law, the moving Defendant is entitled to judgment in its favor in

this action.

2. Rules Governing Motions for Summary Judgment

In Celotex Corp. v. Catrett (1986) 477 U.S. 317, 32225, 106 S. Ct. 2548 the
Court stated the general rule regarding the burden of proof for Motions for
Summary Judgment. “ ‘A party seeking summary judgment always bears the initial
responsibility of informing the district court of the basis for its motion, and
identifying those portions of “the pleadings, depositions, answers to interrogatories,
and admissions on file, together with the affidavits, if any,” which it believes
demonstrate the absence of a genuine issue of material fact .... the burden on the
moving party may be discharged by “showing”-that is, pointing out to the district

court-that there is an absence of evidence to support the nonmoving party's case.’).”

3. There Is No Factual Dispute Regarding Each of the Moving Defendants.
Defendant, OAMYS is, and since September 1999, has been, a Washington

 

 

DEFENDANTS’ MOTION FOR

DEFENDANTS" MSI 3- SUMMARY JUDGMENT

 
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corporation which sells new and used boats. OAMYS had no involvement in the
sale of the subject yacht. The Jelly Bean II was sold to Plaintiffs by the Orange
Coast, which was the California dealer for Alexander Marine at that time.
Currently, OAMYS sells new yachts manufactured by Alexander Marine and by
Tiara Yachts. OAMYS is not owned by Alexander Marine and only shares one
minority owner in Alexander Marine.

Since Alexander Marine is located in Taiwan, it uses its United States’
dealers to act as conduits when repairs or warranty items are needed for its yachts
located in the United States. The warranty claims are submitted to Alexander
Marine in Taiwan and it issues a decision on whether the item in need of repair is
covered by its warranty.

The repairs are done by third parties in the United States, and the dealers
(such as Orange Coast Yachts and OAMYS) relay issues and sometimes advance
money to pay for warranty items. In that situation, Alexander Marine then

reimburses the dealers for any such advances.

4. Plaintiff Cannot Prove Alter-Ego Allegations Against Moving Parties
In Sonora Diamond Corp. v. Superior Court (2000 5" Dist) 83 Cal.App.4th

523, 539, the California Court of Appeal explained that “[a]lter ego is an extreme
remedy, sparingly used. (Calvert, supra, 875 F.Supp. at p. 678.)” The Court in
Sonora Diamond, supra, at 538-539, further explained that:

In California, two conditions must be met before the alter ego

doctrine will be invoked. First, there must be such a unity of

interest and ownership between the corporation and its

equitable owner that the separate personalities of the

corporation and the shareholder do not in reality exist. Second,

there must be an inequitable result if the acts in question are

treated as those of the corporation alone. (Automotriz etc. De

 

 

DEFENDANTS’ MOTION FOR

DEFENDANTS’ MSI “4- SUMMARY JUDGMENT

 
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California v. Resnick (1957) 47 Cal.2d 792, 796, 306 P.2d 1;
Hennessey's Tavern, Inc. v. American Air Filter Co. (1988)
204 Cal. App.3d 1351, 1358, 251 Cal.Rptr. 859; Alberto v.
Diversified Group, Inc., supra, 55 F.3d at p. 205; Calvert,
supra, 875 F.Supp. at p. 678.) “Among the factors to be
considered in applying the doctrine are commingling of funds
and other assets of the two entities, the holding out by one
entity that it is liable for the debts of the other, identical
equitable ownership in the two entities, use of the same offices
and employees, and use of one as a mere shell or conduit for
the affairs of the other.” (Roman Catholic Archbishop v.
Superior Court, supra, \5 Cal.App.3d at pp. 406, 411, 93
Cal.Rptr. 338; Associated Vendors, Inc. v. Oakland Meat Co.,
supra, 210 Cal.App.2d at pp. 838-839, 26 Cal.Rptr. 806.)
Other factors which have been described in the case law
include inadequate capitalization, disregard of corporate
formalities, lack of segregation of corporate records, and
identical directors and officers. (See Tomaselli v.
Transamerica Ins, Co. (1994) 25 Cal.App.4th 1269, 1285, 31
Cal.Rptr.2d 433; Associated Vendors, Inc. v. Oakland Meat
Co., supra, 210 Cal.App.2d at pp. 838-839, 26 Cal.Rptr. 806;
Alberto v. Diversified Group, Inc., supra, 55 F.3d at p. 205.)
No one characteristic governs, but the courts must look at all
the circumstances to determine whether the doctrine should be
applied. (Talbot v. Fresno—Pacific Corp. (1960) 181
Cal. App.2d 425, 432, 5 Cal.Rptr. 361.)

In the present case, Alexander Marine is separate and distinct from the other

Defendants. With the exception of one minority shareholder (Johnny Chueh owns

 

 

DEFENDANTS’ MOTION FOR

DEFENDANTS’ MSJ -5- SUMMARY JUDGMENT

 
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6 or 7%) in Alexander Marine, there is no common ownership of Alexander Marine
and there are no facts to conclude that one entity is a subsidiary of the other. (See
Declaration of Chueh § 8-9.) Alexander Marine is based in Taiwan, maintains no
offices in the United States, sells yachts around the world and has sales dealers for
various parts of the United States and other parts of the world. (See Declaration of
Tseng 7 4-7.)

Importantly, neither of the two factors which need to exist to prove alter ego
are present in this case. There are no facts to show that there is a “unity of interest
and ownership between the corporation and its equitable owner that the separate
personalities of the corporation and the shareholder do not in reality exist.”
(Sonora Diamond, supra, at 538.) Alexander Marine is not, and has never been, a
shareholder in OAMYS and other than OAMYS purchasing boats from Alexander
Marine, there is no relationship on how the two businesses are operated.
(Declarations of Chueh § 2; Tseng § 7.)

Johnny Chueh, who owns 6 or 7% of the shares in Alexander Marine and is
also the sole shareholder in OAMYS; there are no other common shareholders and
they have no employees in common. OAMYS is based in the United States and
conducts its business of selling boats here and not in Taiwan. Alexander Marine
builds yachts in Taiwan and has distributors around the world to sell its boats.
OAMYS is just one of the distributors in the U.S.

The second required element to prove alter ego is that there “must be an
inequitable result if the acts in question are treated as those of the corporation
alone.” (Sonora Diamond, supra, at 538.) In this case, there are no facts to
demonstrate that there could or would be an inequitable result if the recognition of
the separateness of the two entities is recognized and there are no facts in dispute to
challenge this conclusion. As pointed out by the Court in Sonora Diamond, supra,
at 538,

Misconduct or injustice was not proved by Sonora Mining's

 

 

6- DEFENDANTS’ MOTION FOR

DEFENDANTS’ MSJ SUMMARY JUDGMENT

 
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apparent inability to meet the balance of its endowment
obligation to the District. The alter ego doctrine does not guard
every unsatisfied creditor of a corporation but instead affords
protection where some conduct amounting to bad faith makes
it inequitable for the corporate owner to hide behind the
corporate form. Difficulty in enforcing a judgment or
collecting a debt does not satisfy this standard. (Associated
Vendors, Inc. v. Oakland Meat Co., supra, 210 Cal.App.2d at
p. 842, 26 Cal.Rptr. 806; Alberto v. Diversified Group, Inc.,
supra, 55 F.3d at p. 207; Lowell Staats Mining Co., Inc. v.
Pioneer Uravan Inc. (10th Cir.1989) 878 F.2d 1259.)

In this case, there are no material facts in dispute relating to the issue of an
inequitable result. There is no showing Alexander Marine cannot meet its debts or
that there has been any fraud perpetrated by any of the moving parties or by
Alexander Marine to create such an inability by Alexander Marine. In the Sonora
Diamond case, the Court found that one entity paying money to the other to assist
in paying its bills did not show misconduct or injustice since there was no showing
of fraudulent intent. Sonora Diamond involved a parent and subsidiary corporation
and that is not the case here.

Similarly, misconduct or injustice was not proved by the many
advances made by Diamond for the benefit of Sonora Mining
because none were shown to have been made with a fraudulent or
deceptive intent. (Lowell Staats Mining Co., Inc. v, Pioneer
Uravan, Inc., supra, 878 F.2d at p. 1262.) The parent is not
“exposed to liability for the obligations of [the subsidiary] when
[the parent] contributes funds to [the subsidiary] for the purpose
of assisting [the subsidiary] in meeting its financial obligations

and not for the purpose of perpetrating a fraud.” (/d, at p. 1263.)

 

 

DEFENDANTS’ MOTION FOR

DEFENDANTS’ MS} -7- SUMMARY JUDGMENT

 
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(Sonora Diamond, supra, at 538.)

In the landmark case of Automotriz De California v. Resnick (1957) 47
Cal.2d 792, 795-797, the California Supreme Court found that the individual
defendants were personally liable where they had failed to utilize the corporation as
a separate entity, did not issue stock or obtain a permit for issuance of stock, failed
to prove that they adequately capitalized the entity and where two of the purported
shareholders actually funded the business from their own bank accounts. The
corporation in that case filed bankruptcy.

There are no facts in the pending case to indicate that Alexander Marine is in
financial trouble, is failing to pay its debts or is out of business. To the contrary,
Alexander Marine is a viable entity which has been conducting business since the
late 1970’s and continues manufacturing and selling new yachts.

5. Conclusion

It is clear from the foregoing that there are no facts whatsoever to support the

claims against each of the moving parties. As a result, they each request that the

Court grant this Motion and issue judgment in their favor.

Dated: May 5, 2014 ROSENBERG & KOFFMAN

By: i, O fe
Ronald G Rieti
Attorneys efendants,
Ocean Alexander Marine Center, Inc.,
Ocean Alexander Services, L. L. C.,

and Ocean Alexander Marine Yacht
Sales, Inc.

 

 

DEFENDANTS’ MOTION FOR

DEFENDANTS’ MSJ “8 SUMMARY JUDGMENT

 
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DECLARATION OF JOHNNY CHUEH
I, Johnny Chueh, declare:

1. [have personal knowledge of the facts contained herein and if called as a
witness, I could and would testify competently thereto.

2. Iam, and always have been, the sole shareholder and director of Defendant,
Ocean Alexander Marine Yacht Sales, Inc. ((OAMYS”).

3. OAMYS is a Washington corporation that was formed on September 1,
1999. A true and correct copy of its Certificate of Incorporation is attached hereto
and incorporated herein as Exhibit “1”. OAMYS is a sales agent for boats
manufactured by Alexander Marine Co., Ltd. in Taiwan and for Tiara Yachts,
which are manufactured in the United States. Neither I, nor any of the Defendants
in this case, have any ownership interest in Tiara Yachts.

4. OAMYS did not sell Plaintiff his yacht, known as the Jelly Bean II, which is
the subject of this lawsuit.

5. OAMYS was not involved in the purchase, sale or maintenance of the yacht
involved in this case. The yacht was sold by a California company known as
Orange Coast Marine, Inc. That company was the exclusive California dealer for
Alexander Marine Co., Ltd. until the fall of 2009.

6. My father was the founder of Alexander Marine Co., Ltd. in Taiwan in about
1978. He passed away several years ago. I attended college in the United States.
In the mid-1990’s I decided to start selling his yachts in the United States through
my own dealership. I created OAMYS for that purpose and it has been a yacht
dealer since that time. As a dealer, OAMYS purchases yachts from Alexander
Marine Co., Ltd., has them shipped to the United States and then sells them here.
Other U.S. dealers work similarly.

7. Alexander Marine Co., Ltd. has numerous shareholders, including its largest

shareholder being another entity. I am a small minority shareholder of Alexander

 

 

DEFENDANTS’ MOTION FOR

DEFEND , 7
FENDANTS? MS] 9 SUMMARY JUDGMENT

 
Case 8:12-cv-01994-DOC-JCG Document 27 Filed 05/05/14 Page 100f14 Page ID #:181

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Marine Co., Ltd. and own about 6-7 percent of the stock. I am not an employee of
Alexander Marine Co., Ltd.

8. The United States dealers for Alexander Marine Co., Ltd. act as conduits for
the manufacturer with customers in the United States who have warranty claims.
As a result, a boat owner will present their warranty claim to the U.S. entity from
whom they bought the yacht. Alexander Marine is immediately notified of any
claim and it unilaterally notifies the U.S. dealer if the claim is covered by the
warranty. If there is a covered claim, then the U.S. obtains pricing for repairs and if
the manufacturer agrees, then the repair is made. In the event that the dealer
advances the costs of the repair, then the manufacturer reimburses the dealer for
those warranty repairs. This system is designed to provide the customer with the
fastest and easiest method for having repairs made.

I declare, under penalty of perjury under the laws of the State of California

that the foregoing is true and correct.
Executed on this[Sth | day of May 2014.

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DEFENDANTS’ MOTION FOR

DEFENDANTS’ MSI -10- SUMMARY JUDGMENT

 
Case 8:12-cv-Q1994-DOC-JCG Document 27 Filed 05/05/14 Page 11of14 Page ID #:182

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DECLARATION OF HSIUNG WEI TSENG

1. Lam the President of Defendant, Alexander Marine Co., Ltd. (‘Alexander
Marine”).

2. [have personal knowledge of the facts contained herein and if called as a
witness, I could and would testify competently thereto.

3. Ihave worked for Alexander Marine for over 10 years. I became its
President in late June 2013.

4. Alexander Marine is a corporation based in Taiwan. It has been building
yachts known under the name Ocean Alexander since 1978. We build yachts from
72 feet t6 155 feet in length.

5. Alexander Marine has no offices in the United States and to the best of my
knowledge, has never had any.

6. Aléxatidét Mariiie sells its yachts to dédlérs in various parts of thé world.
Alexander Marine does not own any of its dealers. It enters into agreements with
its dealers that permit them to sell the new Ocean Alexander yachts in specified
territoriés.

7. Alexander Marine Co., Ltd. does not have any ownership interest an entity
known as Ocean Alexander Marine Yachts Sales, Inc. or any other company in the
United States.

8. Alexander Marine sold over six yachts last year, is profitable and timely pays
its bills.

I declare, under penalty of perjury under the laws of the State of California
that the foregoing is true and correct.
Executed this 30 _ day of April 2014.

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DEFENDANTS" n87 44. DEFENDANTS’ MOTION FOR
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Case 8:12-cv-01994-DOC-JCG Document 27 Filed 05/05/14 Page 120f14 Page ID #:183

EXHIBIT 1
 

Case 8:12-cv-01994-DOC-JCG Document 27 Filed 05/05/14 Page 130f14 Page ID #:184

 

    
  
   
  
   
  
   
   

ATTY, ANAT TO UOT OT OOO Y

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STATE of WASHINGTON

 

I, RALPH MUNR

| O, Secretary of State of the State of Washington and custodian of its seal,
hereby issue this

CERTIFICATE OF INCORPORATION

to

OCEAN ALEXANDER MARINE YACHT SALES,
INC,

a Washington Profit corporation. Articles of Incorporation were filed for record in this
office on the date indicated below.

UBI Number: 601 977 787 Date: September 01, 1999

 

Given under my hand and the Seal of the State
of Washington at Olympia, the State Capital

 

=
Ralph Munro, Secrelary BEG | 659-9

 

  

 

 
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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

Tam employed in the County of Los Angeles, State of California. I am over the age
of 18 and not a party to the within action; my business address is: 115 Pine Avenue,
Suite 320, Long Beach, California 90802. :

On May 5, 2014, I served the document described as NOTICE OF MOTION
AND MOTION FOR SUMMARY J UDGMENT; DECLARATIONS OF
JOHNNY CHUEH AND HSIUNG WEI TSENG IN SUPPORT THEREOF
on all interested parties in this action

[X] by placing [ ] the original [x] true copies thereof enclosed in sealed
envelopes addressed as follows:

Theodore H. Adkinson

Roberts & Kehagiaras

1 World Trade Center, Suite 2350
Long Beach, CA 90831

[] BY MAIL

[ |] As follows: lam “readily familiar" with the firm's practice for collection and
processing correspondence for mailing, Under that practice it would be
deposited with the U.S. Postal Service on that same day with postage thereon
fully prepaid at Las Angeles, California in the ordinary course of business. |
am aware that on motion of the party served, service is presumed invalid if
postal cancellation date or postage meter date is more than one day after date
of deposit for mailing in affidavit,

[x] (BY PERSONAL SERVICE) I delivered such envelope by hand to the
offices of the addressee,

[] (STATE) I declare under penalty of perjury under the laws of the State of
California that the above is true and correct.

[X] (FEDERAL) I declare under penalty of perjury under the laws of the United
States that the above is true and correct.

 

Dated: May 5, 2014 Z— 2 £ bdt

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: DEFENDANTS’ MOTION FOR
FENDANTS’ Mi -|2- 4
DEFENDANTS MS) 14 SUMMARY JUDGMENT

 
